Case 1:18-cv-00950-LO-JFA Document 82-2 Filed 01/23/19 Page 1 of 15 PageID# 1801



                                UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,
                                                         Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

         Defendants.



           DECLARATION OF ALASDAIR MCMULLAN ON BEHALF OF THE UMG
           PLAINTIFFS IN OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL

            I, Alasdair McMullan, hereby declare, pursuant to 28 U.S.C. § 1746, as follows:

            1.         I am currently employed as Senior Vice President, Legal Affairs and Head of

     Litigation for Universal Music Group. I have held that position or a similar position at all times

     relevant to this declaration. I have worked in the music industry for over twenty years. I have

     personal knowledge of the facts set forth below and/or have learned of these facts as a result of my

     position and responsibilities at Universal Music Group. If called upon and sworn as a witness, I

     could and would testify competently as to the matters set forth herein.

            2.         Universal Music Group (“UMG”) is the colloquial name given to the group of

     music-related companies owned by Vivendi S.A. UMG is one of the largest music groups in the

     world and consists of record companies, music publishing companies, and manufacturing and

     distribution companies. Plaintiffs UMG Recordings, Inc. and Capitol Records, LLC (collectively

     the “UMG Record Companies”); and Universal Music Corp., Universal Music – MGB NA LLC,

     Universal Music Publishing Inc., Universal Music Publishing AB, Universal Music Publishing

     Limited, Universal Music Publishing MGB Limited, Universal Music – Z Tunes LLC,
Case 1:18-cv-00950-LO-JFA Document 82-2 Filed 01/23/19 Page 2 of 15 PageID# 1802



 Universal/Island Music Limited, Universal/MCA Music Publishing Pty. Limited, Universal –

 Polygram International Tunes, Inc., Universal – Songs of Polygram International, Inc., Universal

 Polygram International Publishing, Inc., Music Corporation of America, Inc. d/b/a Universal

 Music Corp., Polygram Publishing, Inc., Rondor Music International, Inc., and Songs of Universal,

 Inc. (collectively, “UMPG”) are companies or divisions within UMG. UMG develops, exploits,

 and distributes sound recordings under the auspices of various record labels, including Capitol

 Records, Def Jam Recordings, Island Records, and Universal Music Group Nashville, and many

 others.

           3.   I am generally familiar with UMG’s practices and procedures for creating,

 distributing and otherwise exploiting its copyrighted sound recordings and musical compositions,

 as well as the costs and revenues associated with those activities. I am also generally familiar with

 the process by which UMG accounts for revenues earned and costs incurred in connection its

 copyrighted works, and the manner in which UMG and its affiliates keep and maintain their records

 with respect to those revenues and expenses. In addition, through my position at UMG, I am

 familiar with the books and records of UMG and its record label and music publisher affiliates,

 including documents such as copyright certificates and agreements pursuant to which UMG

 Record Companies and UMPG acquire and maintain rights in the sound recordings and musical

 compositions at issue in this litigation. I am also familiar with UMG’s anti-piracy efforts and other

 efforts to enforce its copyrights.

           4.   I understand that this declaration is to be submitted to the Court in connection with

 requests for discovery and a motion to compel filed by Defendants Cox Communications, Inc. and

 CoxCom, LLC (collectively, “Defendants” or “Cox”).




                                                  2
Case 1:18-cv-00950-LO-JFA Document 82-2 Filed 01/23/19 Page 3 of 15 PageID# 1803



        5.      As explained below, production of the categories of documents Cox seeks would

 be a massive undertaking—literally requiring thousands of hours of time from UMG employees

 to locate, identify, and review such documents. Such an effort would likely impose costs on UMG

 in the hundreds of thousands, or even millions, of dollars. The burden and expense are further

 compounded by the fact that much of UMG’s business is conducted by email. Consequently, as

 explained below, the task of locating responsive documents (particularly electronic

 communications) is magnified dramatically as a result of the fact that the electronic files of

 hundreds of UMG employees could conceivably have documents falling within the broad

 categories of documents requested by Defendants.

                Discovery Concerning the UMG Plaintiffs’ Financial Information

        6.      The manifest problems with Cox’s requests are twofold: (1) the requests would

 entail collection of reams and reams of information that literally would take thousands of hours to

 gather and produce and (2) Cox also requests that UMG create bespoke reports, organizing this

 information into summary profit and loss statements at the individual recording, or individual

 composition, level.

        7.      Putting aside that the Federal Rules do not require that UMG create specific profit

 and loss statements in discovery that it does not maintain in the ordinary course of business, as

 discussed below, any effort to identify and unearth every document or piece of financial data that

 would be needed to calculate profit or loss figures per sound recording or composition would be a

 massive and perhaps impossible undertaking. Given the thousands of works at issue in this lawsuit,

 locating, collecting, and reviewing all the financial documentation Cox requests would be

 unending. Cox apparently seeks full documentation about the revenues and costs involved in the

 creation, marketing, administration and exploitation of recorded music and compositions—the




                                                 3
Case 1:18-cv-00950-LO-JFA Document 82-2 Filed 01/23/19 Page 4 of 15 PageID# 1804



 whole of UMG’s business. It would require a full-time staff working many months, with thousands

 of hours of employee time, and additional time from in-house and outside attorneys to oversee

 such a process.

        8.      As mentioned, UMG has no business need to create or maintain profit and loss

 statements organized on a sound recording-by-sound recording basis. While UMPG can run

 certain reports on a musical composition level basis, those reports would not provide the complete

 profit and loss analysis that Cox demands. In order to meet Cox’s demands, UMG would need to

 identify and analyze terabytes of financial data and information at tremendous burden. Conducting

 the analysis to then provide the information in the tailored manner Cox requires would entail

 further burdensome manipulation of the material, and the creation of documents outside the

 ordinary course of UMG’s business.

        9.      To put into perspective the effort required to conduct the analysis Cox apparently

 requests on track-level profits and losses, in the rare instance in which UMG has attempted to

 conduct such an analysis for a single album or sound recording, UMG’s finance department

 generally requires 8-10 weeks to deliver such a report. Doing such an analysis even for one

 recording requires the diversion of resources from the day-to-day operations and demands of the

 financial departments of the company. Indeed, for even a single recording or album, the process

 requires coordination of volumes of information across multiple departments at the company

 (including central finance, label artist and repertoire (“A&R”) administration, artist royalties,

 copyright royalties, manufacturing and logistics, among others). For this case, the substantial

 effort involved in creating a single profit and loss analysis then necessarily would be multiplied

 by the thousands of works at issue here. This would be hugely disruptive to UMG’s business




                                                 4
Case 1:18-cv-00950-LO-JFA Document 82-2 Filed 01/23/19 Page 5 of 15 PageID# 1805



 operations. Based on my experience and knowledge of that process, I believe the costs and burden

 of such a review and analysis would be astronomical.

        10.     Below, I provide some further context for the complexity and breadth of the

 financial information that would be required to conduct the analysis Cox demands UMG

 undertake. Creating, marketing, exploiting, and/or administering a sound recording or musical

 composition is an extremely time-intensive and complex process that involves many categories of

 both income and expenses. At each stage, each source of income and cost is documented in myriad

 ways, including through email communications, documents and/or in different databases or

 systems, by numerous employees in offices located across the country (indeed, around the world).

        11.     Identifying and analyzing cost data with respect to a given sound recording (or the

 album or EP on which it appears) would be extremely complicated. Some of the types of costs

 include: recording costs, such as payments or advances to artists; direct payments to recording

 studios for recording session time; payments to producers, engineers, mixers, and other creative

 contributors to the process; costs of goods sold, such as manufacturing and distribution costs and

 royalty payments to artists, producers, and music publishers; marketing costs, such as publicity,

 advertising and video production costs; independent promotion costs; costs related to artist

 publicity tours and appearances, tour support, digital marketing; and overhead costs. Many of

 these costs are not allocated within UMG’s financial systems on a track-by-track or even album-

 by-album basis.    Revenue data would be similarly voluminous and include documents or

 information relating to the millions and millions of track and album sales made each year, as well

 as licensing deals with television and movie studios, retailers, streaming services, satellite and

 cable services, and more.




                                                 5
Case 1:18-cv-00950-LO-JFA Document 82-2 Filed 01/23/19 Page 6 of 15 PageID# 1806



        12.     On the music publishing side, the data generated or received in the course of

 acquiring, administering, publishing, licensing, or otherwise exploiting UMPG’s catalogue of

 hundreds of thousands of musical compositions is similarly vast. This material would include

 financial information related to at least: acquiring songs or artists; administering mechanical,

 synchronization, and other licenses; and maintenance and payment of royalties to songwriters, co-

 publishers, and other copyright holders in connection with income generated from the exploitation

 of their copyrighted works.

        13.     Given the challenges of collecting the detailed financial information Cox seeks,

 UMG has provided its parent company’s annual financial reports for the years 2010 through 2014.

 These reports include UMG’s annual revenues from music publishing and recorded music (broken

 down by physical sales, digital sales, licensing and other), operating expenses, interest and tax

 expenses, and net income (or profit), among other financial information. UMG has also provided

 information concerning revenue earned per digital download. As explained above, it would be

 extremely difficult and burdensome to provide the millions of data points needed to theoretically

 conduct the analysis Cox apparently intends—analyses which are not kept in the ordinary course.

                 Ownership of UMG’s Sound Recordings / Musical Compositions

        14.     Sound recordings and musical compositions are the core assets owned by UMG,

 and the foundation of UMG’s business. In the course of regular operations, UMG’s routine

 practice is to obtain copyright ownership of its works through registrations with the U.S. Copyright

 Office or other transactions.

                                   Copyrights in Sound Recordings

        15.     Since 2006, the UMG Record Companies have filed over 20,000 copyright

 registrations for albums and individual recordings, covering more than 200,000 sound recordings.




                                                  6
Case 1:18-cv-00950-LO-JFA Document 82-2 Filed 01/23/19 Page 7 of 15 PageID# 1807



 The UMG Record Companies have obtained these copyrights directly by entering into agreements

 with the artists (or companies furnishing the artists’ services) or indirectly by acquiring catalogs

 of recordings from other companies, or by acquiring other companies (who themselves have

 entered into direct and indirect agreements with artists or other copyright owners).

        16.     We have produced or are producing the documents necessary to show that we own

 the sound recordings in this case. In most cases, that is a copyright registration certificate showing

 that a UMG Record Company plaintiff owns the work. Many of the documents that Cox seeks go

 well beyond what is necessary to prove ownership or exclusive rights. It would be extremely

 burdensome to produce every document or piece of correspondence that may have been generated

 in the course of acquiring a copyright. That is because the process of negotiating and finalizing

 all of the agreements related to the UMG Record Companies’ copyrights for each sound recording

 is often multifaceted. The record company frequently negotiates and enters into agreements with

 the recording artists, agreements with producers, and license agreements with third-party copyright

 owners that may relate to, for example, “samples” that may appear in the recording. As a result,

 the documentation attendant to acquiring the rights for any single sound recording may involve

 agreements and communications between many people, the use of outside “clearance” companies

 (e.g., for sample license negotiations), correspondence with copyright owners and their

 representatives, drafts and negotiations for agreements and licenses, and input from lawyers or

 even musicologists. These documents (e.g., the correspondence, agreements and licenses) are not

 contained in a single file, and are not kept in a central location. Rather, oftentimes they are located

 in numerous hard copy and electronic files maintained by individual employees working within

 UMG’s various labels and divisions, and also at outside clearance companies, and others.




                                                   7
Case 1:18-cv-00950-LO-JFA Document 82-2 Filed 01/23/19 Page 8 of 15 PageID# 1808



        17.     It is also important to emphasize from the outset that disputes over and challenges

 to the UMG Record Companies’ asserted ownership of their copyrighted works are quite rare.

 Accordingly, Cox’s request that UMG produce all documents reflecting any “disputes or

 challenges” to UMG’s ownership of the works at issue, or the validity of its copyright registrations,

 is made all the more burdensome because any documents concerning any such disputes (as rare as

 such challenges or disputes are) also are not maintained in a centralized location or fashion. As it

 is an aberrant occurrence dealt with, if ever, on an ad hoc basis, the UMG Record Companies do

 not maintain a single repository, or even have a consistent filing system, for so-called “challenges”

 to ownership of their sound recordings. Searching for documents regarding any challenges or

 disputes regarding the validity or ownership of the UMG Record Companies’ copyrights would

 involve dozens or more employees, including business affairs attorneys at each of the record labels

 that are part of the Universal Music Group, in-house litigation attorneys, and UMG’s copyright

 department, as such files are not centrally maintained or even tracked. This problem is even more

 complex given the timespan covered by the works in suit, and the turnover of employees at UMG

 over this same amount of time. Any search for responsive documents would require literally

 searching the files of individual business and legal affairs department personnel, and in-house

 litigation attorneys (past and present) over the course of decades, potentially from the 1970s

 through the present day. Of course, if a challenge to its ownership or the validity of any copyrights

 had been successful, the UMG Record Companies would remove such works in their repertoires

 and, accordingly, would not have included such works in this lawsuit

        18.     When the UMG Record Companies have acquired companies or catalogs, the

 documentation relating to such acquisitions can itself be quite voluminous, particularly if the

 acquisition was of an entire company. In those and other instances, however, when the claimant




                                                  8
Case 1:18-cv-00950-LO-JFA Document 82-2 Filed 01/23/19 Page 9 of 15 PageID# 1809



 on the copyright certificate may reflect a person or entity other than a named UMG Record

 Company plaintiff in this action, we have produced or are in the process of producing chain of title

 documents that demonstrate how and why the UMG Record Company plaintiff owns or controls

 the work at issue.

        19.     Collecting, reviewing and producing all of the documentation associated with the

 UMG Record Companies’ ownership of all of their copyrights in sound recordings—including

 chain of title, artist agreements, challenges or disputes, and all forms of assignments and licenses

 over the course of a ten-year period—would be an enormous undertaking. Because these materials

 are not maintained in a centralized manner or location, it is difficult to determine even the precise

 amount of material involved. I estimate that hundreds of thousands of documents would need to

 be located, collected and reviewed in such an effort. This process would require thousands of

 hours of employee time in addition to the substantial time and expense required by in-house and

 outside attorneys to manage this process. I would estimate that the expense of such an undertaking

 could easily cost in the hundreds of thousands or even millions of dollars.

                                 Copyrights in Musical Compositions

        20.     In addition to copyrights in sound recordings, UMG also owns copyrights in

 musical compositions, which are owned or controlled by the 16 UMPG companies included as

 Plaintiffs. Plaintiffs are producing documents that demonstrate their ownership of these works.

        21.     Production of every document that may have been generated in the course of

 acquiring a copyright would be extremely burdensome. Similar to obtaining rights in a sound

 recording, the process for obtaining the rights to a composition is also extensive. A publishing

 company, including UMPG, typically obtains rights to a composition either by directly entering

 into an agreement with a songwriter or indirectly by acquiring catalogs of musical compositions




                                                  9
Case 1:18-cv-00950-LO-JFA Document 82-2 Filed 01/23/19 Page 10 of 15 PageID# 1810



  from other companies, or by acquiring other companies (who themselves have entered into the

  direct agreements with songwriters). The acquisition of rights in any single composition may

  involve agreements and communications between many people, correspondence with songwriters

  and their representatives, drafts and negotiations of agreements and licenses, input from lawyers

  or musicologists, and the like. The documentation relating to such acquisitions can itself be quite

  voluminous, particularly if the acquisition was of an entire company.

         22.     The burden that I described on the sound recording side associated with collecting

  and producing documents concerning any questions, challenges, uncertainties or disputes

  regarding the validity or ownership of copyrights is also true in the case of musical compositions.

  Such challenges have also been rare. Searching for documents regarding any challenges or

  disputes regarding the validity or ownership of UMPG’s copyrights could involve many

  employees, including attorneys. UMPG would not include works in its repertoire if a challenge to

  its ownership or validity of its copyrights was successful and, likewise, would not have included

  such works in this lawsuit.

         23.     As with sound-recording rights, an effort to locate, collect and review all of the

  documentation associated with UMPG’s ownership of copyrights in musical compositions—

  including the validity, ownership, chain of title, artist agreements, challenges or disputes, and all

  forms of assignments and licenses for a decade—would be an enormous undertaking. I estimate

  that additional tens of thousands of documents or more beyond those associated with sound-

  recording rights, would need to be located, collected and reviewed in such an effort. This process

  would require thousands of hours of employee time in addition to the substantial time and expense

  required by in-house and outside attorneys to manage this process. I would estimate that the

  expense of such an undertaking could easily cost hundreds of thousands of dollars or more.




                                                   10
Case 1:18-cv-00950-LO-JFA Document 82-2 Filed 01/23/19 Page 11 of 15 PageID# 1811



                    Discovery Relating to Anti-Piracy, RIAA and MarkMonitor

         24.     The RIAA is the record industry trade group, with which UMG and the other record

  company plaintiffs have worked closely for many decades. RIAA supports and promotes the

  creative and financial vitality of the major record companies. To that end, RIAA assists the record

  company plaintiffs in a variety of ways, with departments and personnel helping on, among other

  things: (1) anti-piracy investigation and enforcement, both in the physical realm and online; (2)

  copyright litigation matters, including as counsel in numerous cases, including cases like Napster,

  Aimster, Grokster, Limewire and many others; (3) legislative issues at the federal and state level;

  (4) regulatory matters with the Copyright Office and other agencies such as the Federal

  Communications Commission, the U.S. Patent & Trademark Office, and the United States Trade

  Representative; (5) industry relations issues such as overseeing the program for Gold and Platinum

  awards based on artist sales success; (6) coordinating with international organizations and

  governments on music protection; and (7) conducting research.

         25.     The scope and quantity of the documents responsive to Cox’s requests regarding

  the RIAA is staggering, with much of the material not identifying or concerning Cox or even

  copyright infringement issues in any manner at all. And even if the requests were limited to issues

  involving RIAA’s anti-piracy work, it would still be impossibly overbroad. For well over twenty

  years, the RIAA has had an entire team of anti-piracy personnel with responsibility to identify

  infringing activity, to prepare notice-and-takedown requests, and to inform lawyers for the record

  companies regarding piracy issues.

         26.     This means that a request for all documents and communications with or involving

  the RIAA concerning copyright infringement or any of the works in suit could span numerous anti-

  piracy enforcement efforts, including lawsuits. It would entail preparation of a massive privilege




                                                  11
Case 1:18-cv-00950-LO-JFA Document 82-2 Filed 01/23/19 Page 12 of 15 PageID# 1812



  log. While it is hard to assess the resulting costs and disruption, I anticipate that costs alone could

  easily exceed several hundred thousand dollars or more.

          27.     Over the last decade, MarkMonitor or its predecessor, Dtecnet, Inc., has been

  involved in a variety of notice programs to protect the record companies’ copyrights.

  MarkMonitor and/or Dtecnet have sent hundreds of thousands or even millions of infringements

  notices on behalf of UMG and other record companies over the years that have nothing to do with

  Cox. In addition, MarkMonitor and/or DtectNet has provided litigation support in cases protecting

  the record companies’ copyrights.

          28.     UMG’s anti-piracy efforts (including those that occurred with the assistance of the

  RIAA and/or MarkMonitor) contain sensitive information concerning the means, methods, and

  strategies by which we combat piracy of sound recordings and their associated musical

  compositions. This information is guarded as extremely confidential. Unauthorized access and

  use of that information could provide a roadmap for infringers and significantly undermine the

  efforts to deter infringing activity.

                Discovery concerning the Copyright Alert System and Third-Party ISPs

          29.     I understand that Cox seeks production of vast array of documents relating to the

  Copyright Alert System (CAS) and other ISPs.

          30.     CAS was a private agreement between 18 private parties (30 parties, including all

  affiliated entities), including trade groups, copyright holders and ISPs designed to educate

  consumers, deter online infringement, and direct consumers to lawful online legitimate sources of

  content. Cox did not participate in CAS.

          31.     Negotiations leading up to the formation of CAS spanned years. A separate

  corporate entity called the Center for Copyright Infringement, Inc. (“CCI”) was created to




                                                    12
Case 1:18-cv-00950-LO-JFA Document 82-2 Filed 01/23/19 Page 13 of 15 PageID# 1813



  administer and oversee CAS. The creation and administration of CCI and CAS involved dozens

  of individuals at dozens of companies from multiple industries engaged in dialogue over the course

  of years. Each participating company was involved in the oversite and activities of CCI. The

  terms and agreement implementing CAS contain strict confidentiality provisions governing the

  handling of the participating members’ sensitive business information and records and data

  relating to the CAS notice program. Certain information cannot be disclosed without the prior

  written consent of all parties involved. CCI has since dissolved.

         32.     CAS did not establish, or attempt to establish, an industry standard.              The

  Memorandum of Understanding setting forth CAS’s framework acknowledged that “the

  limitations on ISP liability under the DMCA are conditioned on an ISP’s adoption and reasonable

  implementation of a policy that provides for the termination in appropriate circumstances of

  subscribers and account holders who are repeat infringers.” (MOU at 9 n.1, attached as Ex. 13 to

  J. Golinveaux Decl. (ECF No. 75-14).) The MOU further acknowledged that “entering into this

  Agreement is not, by itself, intended to address whether a Participating ISP has adopted and

  reasonably implemented a DMCA Termination Policy.” Id.

         33.     MarkMonitor was engaged to conduct monitoring and notice sending on behalf of

  the record companies and movie studios in connection with CAS. In that context, MarkMonitor

  sent millions of infringement notices to five major ISPs who contractually agreed to participate in

  CAS. None of those notices involved Cox. Many of those notices would have pertained to UMG

  works (including works in suit in this action), as well as other third parties, including movie studios

  whose copyrights are not at issue in this case. Ongoing coordination and communication between

  the many parties to CAS (plus dozen more affiliated entities) spanned years.




                                                    13
Case 1:18-cv-00950-LO-JFA Document 82-2 Filed 01/23/19 Page 14 of 15 PageID# 1814



         34.     Searching for and producing all the documents sought by Cox’s overbroad requests

  concerning CAS and other ISPs would be a major undertaking and significant burden. The search

  for documents would span roughly seven years and involve documents and communications

  concerning dozens of companies, dozens of individuals, the negotiations and creation of an

  independent corporation, the operation of that corporation, and millions of infringement notices to

  ISPs other than Cox.




                                                  14
Case 1:18-cv-00950-LO-JFA Document 82-2 Filed 01/23/19 Page 15 of 15 PageID# 1815




        I declare under penalty of perjury under the laws of the United States that the foregoing is

 trueandcorrect.
                                                    /2 �
                                                  ...
                                                                Alasdair McMullan                  �

 Executed this 23 rd day of January, 2019.
